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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                 v.                             :       Case No. 21-cr-429-CRC
                                                :
NOLAN KIDD,                                     :       40 U.S.C. § 5104(e)(2)(G)
                                                :
                        Defendant.              :


                                   STATEMENT OF OFFENSE

         Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and defendant,

Nolan Kidd, with the concurrence of his attorney, agree and stipulate to the below factual basis

for his guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

    1.           The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

    2.           On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

    3.           On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States
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Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

    4.          As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

    5.          At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

    6.          At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the
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crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

   7.          Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

                Nolan Kidd’s Participation in the January 6, 2021, Capitol Riot

   8.          On January 6, 2021, Savannah McDonald and Nolan Kidd entered the U.S.

Capitol at approximately 2:16 pm through the Senate Fire Door.

   9.          McDonald and Kidd remained inside the Capitol for approximately 40 minutes

walking through various areas inside, including walking past the Senate Carriage Doors and

taking the elevator to the third floor. McDonald and Kidd also stood/sat in the second-floor

hallway outside of the Senate chambers for approximately 30 minutes.

   10.         McDonald and Kidd exited the Capitol at 2:55 pm.

   11.         On January 15, 2021, Federal Bureau of Investigation (“FBI”) agents interviewed

Kidd. During the interview, Kidd admitted that he was tear gassed three times prior to his and
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McDonald’s entry into the U.S. Capitol. Kidd further stated that the doors to the U.S. Capitol

were open and that he and McDonald were one of the first 100 people to enter the Capitol.

   12.         In a subsequent search warrant of Kidd’s Facebook account, FBI learned that on

January 7, 2021, Kidd sent via private message photographs of him and McDonald inside of the

U.S. Capitol. Kidd also stated in messages, “I’ll put it like this, people had the police riot

shields, vests, and I got my hands on one of the officer hats and I have someone from Texas

mailing me a riot helmet.”

   13.         In another private message on January 7, when asked, “Why did you remove your

pics,” Kidd responded, “The FBI are trying to identify anyone that got inside and press charges.

   14.         Kidd knew at the time he entered the U.S. Capitol Building that that he did not

have permission to enter the building, and Kidd paraded, demonstrated, or picketed.



                                              Respectfully submitted,

                                              MATTHEW GRAVES
                                              United States Attorney

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